                                                                                      Motion GRANTED.
                                                                                      Hearing reset for
                                                                                      3/26/13 at 2:00 p.m.

                          IN THE UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE


UNITED STATES OF AMERICA

VS.                                                   NO. 2:11-cr-00002-022
                                                      JUDGE TRAUGER
MARCIA PRESS

                              MOTION TO CONTINUE HEARING
                              ON PETITION FOR VIOLATION OF
                                  SUPERVISED RELEASE


       Comes counsel for the defendant Marcia Press to request a continuance of the hearing on

the U.S. Probation Office’s Petition for Violation of Supervised Release set for March 11, 2013,

at 2:00pm, by order of this Court, document number 1371, and would show for grounds would

show the following:

       1.      Undersigned counsel has been advised that Ms. Press is currently in the hospital in

            Crossville, Tennessee, and cannot appear for the hearing set for today.

       2.       U.S. Probation Officer Kara Sanders has verified that Ms. Press is in the hospital

            in Crossville, Tennessee and joins in this request to continue the hearing. AUSA

            Alex Little has advised that he has no objection to continuing the hearing.

Respectfully submitted,

/s/ Thomas J. Drake, Jr.
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